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NAME, ADDRESS, AND TELEPHONE NUMBER OF ATTORNEY(S)
OR OF PARTY APPEARING IN PRO PER

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

Gabriela Solano, on behalf of herself and those CASE NUMBER:
similarly situated 2:21 -cy-01576

Plaintiff(s),
v.

US. Immigration & Customs Enforcement et al.

 

CERTIFICATION AND NOTICE

 

 

OF INTERESTED PARTIES
Defendant(s) (Local Rule 7.1-1)
TO: THE COURT AND ALL PARTIES OF RECORD:
The undersigned, counsel of record for Gabriela Solano

 

or party appearing in pro per, certifies that the following listed party (or parties) may have a pecuniary interest in
the outcome of this case. These representations are made to enable the Court to evaluate possible disqualification
or recusal.

(List the names of all such parties and identify their connection and interest. Use additional sheet if necessary.)

PARTY CONNECTION / INTEREST
None

February 19, 2021 /s David W. Moreshead.
Date Signature

 

 

Attorney of record for (or name of party appearing in pro per):

Plaintiff Gabriela Solano

 

 

CV-30 (05/13) NOTICE OF INTERESTED PARTIES
